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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                               NO. 11-80937-CIV-MARRA/HOPKINS

  DAVID RAMNARINE,

          Plaintiff,

  vs.

  CORAL COVE PLAZA, LLC,
  LAKEWORTH, LLC, and LOUISE
  GOUSSIS, d/b/a Skorpios

        Defendants.
  ______________________________________/

                        ORDER DISMISSING CASE WITH PREJUDICE

          THIS CAUSE is before the Court upon the parties Stipulation of Dismissal with

  Prejudice (DE 26), filed on March 5, 2012. The parties indicate that they have settled this matter

  pursuant to a confidential settlement agreement. The Court has carefully reviewed the record

  herein and is otherwise fully advised in the premises. It is hereby:

          ORDERED AND ADJUDGED that this case is DISMISSED WITH PREJUDICE. The

  Clerk of this Court shall CLOSE this Case. All pending motions are DENIED AS MOOT.

  Pursuant to the joint stipulation, the Court retains jurisdiction over the matter to enforce the

  agreement between the parties.

          DONE AND ORDERED in Chambers at West Palm Beach, Florida, this 6th day of March,

  2012.

                                                _______________________________________
                                                KENNETH A. MARRA
                                                United States District Judge
